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                                       EXHIBIT B

                         Proof of Claim for 1999 Credit Al!reement




DOCSßE:138088.!
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                                               WR Grace                                        SR00000559 .

 111~i111111~i11111111~i11111111~i111        Bankruptcy Form 10
                                                  Index Sheet

Claim Number:                00009159                                   Receive Date:     03/28/2003

Multiple Claim Reference

Claim Number                                    0    MMPOC          Medical Monitoring Claim Form

                                                0    PDPOC          Propert Damage

                                                0    NAPO           Non-Asbestos Claim Form

                                                0                   Amended


Claim Number                                    0    MMPOC          Medical Monitoring Claim Form

                                                0    PDPOC          Property Damage

                                                0    NAPO           Non-Asbestos Claim Form

                                                0                  Amended


Attorney Information

Firm Number:                                  Firm Name:

Attorney Number:                             Attorney Name:

Zip Code:

Cover Letter Location Number:


              Attachments                       Attachments Non-Asbestos
          Medical Monitoring                  Propert Damage

o TBD                                   o THO 12 Other Attachments
o TBD                                   o THO
o TBD                                   o THO
o THO                                   o TBD
o THO                                   o THO
                                        o Other Attachments

Other                                   o Non-Standard Form
                                        o Amended
                                        o Post-Deadline Postmark Date

. Box/Batch: WRBF0037IWRBF0146                                                  Document Number: WRBF0073B7 .
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UNITED STATES BANKRUPTCY COURT FOR THE DISTRlCr OF DELAWARE                                                                                                    GRACE NON-ASBESTOS
                                                                                                                                                               PROOF OF CLAIM FORM
Name of    Debtor. W.R. Grace & Co.-CONN. and each ofthe Guarantors Case Number 01-01139 (JKF)
and additional borrowers listed on the attached Schedule I (Jointl Administered)
NOTE: Do not use this form to assert an Asbestos PersonallDjury Claim, a Settled Asbestos Claim or a
Zonolite Attc Insulation ciaim. Those claims will be subject to a separate claims submission process. This
form should also not be used to fie a claim for an Asbestos Property Damage Claim or Medical Monitonng
Claim. A s eclalized roof of claim form for each of these claims should be fied.
Name of Creditor (Th person or other entity to whom the Debtor owes 0 Check box if                                                 you are aware tht anyone
money or propert): else has fied a proof ofto your
                                               claim         relating
                                                   claim. Al1ch copy of statement
                                                                                                                                                                        TooS SPAC. IS FOR COURT US. ON y

      JPMorgan Chase Bank                                                                                          giving partculalS.
      As Administrative Agent for the 364-Day Credit Agreement dated as                                      o Check box if you have never received
      ofMa 5, 1999.                                                                                                any notices from th bankptcy court
                                                                                                                   ¡n tbis case.
Name and address where notices should be sent:                                                               o Check box ifihe address differs from
      270 Park A venue                                                                                             the address on the envelope sent to you
                                                                                                                   by the court.
      New York, New York 10017
      Attention: Thomas F. Maher
Account or other number by which creditor identifies Debtor:                                                 Check here 0 replaces
             Not A licable                                                                                   if this claim 0 amends a previously filed claim, daled:

Corporate Name, Common N arne, and/or d//a name of specific Debtor against whom the claim is asserted:
      W.R. Grace & Co..CONN. and each of the Guarantors and additional borrwers listed on Schedule Ito the attached
l. Basis for Claim 0 Retiree benefits as defined in i I U.S.C. § II 14(a)
      o Goods sold 0 Wages, salaries, and compensation (fill out below)
      o Services perform
      o Environmentalliability                                                                                     YourSS#:___
      18 Money loaned
      o Non-asbestos personal injury/wrongful death
      o Taxes
                                                                                                                   from to
                                                                                                                   Unpaid compensation for servces performed
                                                                                                                                                                                  (date)

      o Other
2. Date debt was Incurred: Various, including March 6, 2001.                                                 3. If court judgment, date obtained:

4. Total Amount of Claim at Time Case Filed:                                                                 $ See attached
                                                   enitled 10 prority. al coroetc Item 5 below.
                 rfall or pan of your clm is sour or

      l8 Check ihis box if claim includes interesi or other charges in addiiion 10 the principal amount of               the claim Al1ch iiemized statement of all interest or additional charges.
5. Classification of Claim. Under the Bankruptcy Code all claims are classifed as one or more of the following: (l) Unsecured Nonprlority, (2)
Unsecured Priority, (3) Secured. It is possible for part of a claim to be in one category and part in another. CHECK THE APPROPRIATE BOX OR
BOXES that best describe your claim aDd STATE THE AMOUNT OF THE CLAIM AT TIME CASE FILED.
      o SECURED CLAIM (check this box if                            your claim is secured by 0 UNSECURED PRIORITY CLAIM - Specify the priority of                                                    the
             collateral, including a right of setoff.) claim.
             Brief Description of Collateral: 0 Wages, salaries, or commissions (up to $4650), earned not more
      o Real Estate 0 Other (Describe briefly) than 90 days before fiing of           the bankruptcy petition or cessation of
                                                                                                                          the debtots business, whichever is earlier - 11 U.S.c. § 507(a)(3).
Amount of arrearage and other charges at time case filed included in                                               o Contributions to an employee benefit plan - II U.S.c. § 507(a)(4).
secured claim above, if any: $
                                                                                                                   o Taxes or penalties of governmental ulÚts - Ii U.S.C. § 507(a)(7).
             Attach evidence of perection of                security interet
                                           PRIORITY CLAIM                                                          o Other. Specify applicable pargrph of II U.S.c. § 507(a)L-.
      18 UNSECURED NON
      A claim is unsecured ifthere is no collateral or lien on property ofthe
      debtor securing the claim or to the extent that the value of such
      propert is less than the amount of                the claim.
6. Credits: The amount of all payments on this claim has been credited and deducted for the purpose of making this                                                     This Space is for Court Use Only
      proof of claim.
7. Supporting Documents: Allach cavies or suvvorlinr¡ dociiments, such as promissory notes, purchase orders,
     invoices, itemized statements of running accounts, contrcts, court judgments, mortgages, security agreements and
     evidence of perfection of lien. DO NOT SEND ORIGINAL DOCUMENTS. If the documents are not available,
     explain. Ifthe documents are voluminous, attach a summar.
8. Date-Stamped Copy: To receive an acknowledgment ofthe filing of          your claim, enclose a stamped, self-
      addressed envelo e and co ofthis roof of claim.
                                                              othe
Date l'.=r Sign an prt the nae and title, irany, ofthe crediror  orpen aulhoried 10 file this claim (atach copy of power oftluomey. if any):

Marclf _, 2003
                                                                                                                                                                    WR Grace BF.37.148.7387
                                                                                                                                                                                   00009159
                                                                                                                                                                       SR=559

                                                                                                     REC'D MAR 2 8 2003
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                                   ~ITED STATES BANKRUPTCY C.QURT
                                        DISTRICT OF DELAWARE
In re:                                                             )      Chapter 11
                                                                   )
W.R. GRACE & CO., et al.;                                          )      Case No. 01-01139 (JFK)
                                                                   )      Jointly Admiistered
                                           Debtors                )
                                                                  )
                                                                  )

            MASTER PROOF OF CLAIM OF JPMORGAN CHASE BANK, IN ITS
            CAPACITY AS AGENT FOR THE CLAIMANTS UNDER THE CREDIT
             AGREEMENT DATED AS OF  MAY 5,1999. IDENTIFIED HEREIN
                     1. The undersigned, Thomas F. Maher, whose business and mailing address is

270 Park Avenue, New York, New York 10017, is a Managing DirectorofJPMorgan Chase

Bank (formerly known as The Chase Manattan Ban; "JPMorgan Chase"), a baning

corporation formed and existing under the laws of the State of              New York, with offices at 270

Park Avenue, New York, New York 10017. JPMorgan Chase is the administrative agent (in

such capacity, the "Agent") for itself and the other banks and financial institutions (collectively,

the "Lenders"; together with the Agent, the "Claimants") from time to time paries to the 364-

Day Credit Agreement dated as of                 May 5, 1999 (as amended, supplemented or otherwise

modified prior to the Petition Date referenced below, the "Credit Agreement"), among W.R.

Grace & Co. (f/ka Grace Specialty Chemicals, Inc.), ("W.R. Grace"), W.R. Grace & Co.-

CONN., the Lenders party to the Credit Agreement, Ban of America National Trust and

Savings Association, as Documentation Agent, the Agent and Chase Securities, Inc., as Book

Manager. Pursuant to the "Claims Bar Date Notice Order" entered by the Banptcy Court on

April 25, 2002 and the "Order as to all Non-Asbestos Claims, Asbestos Property Damage

Claims, and Medical Monitoring Claims: (1) Establishing Bar Dates, (II) Approving Proof of

Claim Forms, and (II) Approving Notice Program", entered by the Bankptcy Court on April
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                                                                                                                          2


2,,2002, the Agent has been               authorized to file this ma~ter proof of claim (this "Master Proof of

Claim") on behalf of all of the Claimants.

                     2. The Agent is fiing this Master Proof of Claim in order to set forth the

aggregate claims of each Claimant as of April                     2, 2001 (the "Petition Date") against (a) W.R.

Grace & Co.-CONN., (b) W.R. Grace and W.R. Grace & Co.-CONN. as guarantors (together,

the "Guarantors") and, (c) to the extent that any of them are Additional Borrowers under the

Credit Agreement, each entity set fort on Schedule I hereto (collectively with W.R. Grace &

Co..CONN. and the Guarantors, the "Debtors"), arising under or in connection with the loans,

extensions of credit and other financial accommodations made by the Claimants to the Debtors

under or pursuant to the Credit Agreement. All such loans, extensions of credit and other

financial accommodations, and all fees and other amounts owing under, or in connection with,

the Credit Agreement are hereinafter referred to as the "Pre-Petition Obligations".

                     3. (a) The Debtors were, as of                the Petition Date, and stil are indebted (or liable)

(i) to the Claiants as set forth on Schedule II hereto in respect ofloans made by the Claimants

to the Debtors under the Credit Agreement in the aggregate principal amount as of                       Februar 11,

2003 of not less than $250,000,000 (the "Total Principal Amount") and (ii) to each Lender in an

amount not less than the sum of                 the amounts set forth opposite such Lender's name on Schedule

II hereto under the heading "Principal Outstanding", plus in each case (A) interest thereon (in

amounts determined at the rates set forth in the Credit Agreement) accrued and unpaid as of                       the

Petition Date and accrued and accring subsequent to the Petition Date and (B) facility and other

fees (in amounts determined at the rates set forth in the Credit Agreement) accrued and unpaid as

of the Petition Date and accrued and accruing subsequent to the Petition Date, and for such

additional amounts as described in paragraphs 3(c), 3(d) and 6 below.
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                                                                                                                             3



                     (b) The amount of                the Claimants.' claims against the Debtors on account of

interest accrued as of         the Petition Date and accring subsequent to the Petition Date on the Total

Principal Amount (including interest accrued and accruing in respect of any drawing under the

letters of credit), and any fees payable under the Credit Agreement, shall be reduced by the

amount, if any, of such interest and fees paid to the Claimants after the Petition Date.

                     (c) The Debtors are also indebted (or liable) to the Claimants for fees and

costs and expenses, including attorneys' fees, incurred before or after the Petition Date to the

extent provided in the Credit Agreement.

                     (d) The Guarantors were, as of                       the Petition Date, and stil are, liable to the

Claimants for the repayment ofthe Pre-Petition Obligations, including without limitation the

amounts set fort in pargraphs 3(a) through 3(c) above and paragraph 6 below.


                     4. The consideration for the indebtedness owing to the Claimants (or ground of


liabilty) described in this Master Proof of Claim is the loans, extensions of credit and other

financial accommodations made by the Claimants puruant to, or in connection with, the Credit

Agreement.

                     5. By reason of         the foregoing, the Debtors are indebted (a) to the Claimants as

set forth on Schedule II hereto in the aggregate principal amount as of                        Februar 11,2003 of      not

less than $250,000,000 in respect ofloans made under the Credit Agreement plus (i) interest

thereon (in amounts determined at the rates set forth in the Credit Agreement) accrued and

unpaid as of      the Petition Date and accrued and accruing subsequent to the Petition Date and (ii)

facilty and other fees (in amounts to be determined at the rates set forth in the Credit Agreement

and the other Loan Documents) accrued and unpaid as of                            the Petition Date and accred and

accruing subsequent to the Petition Date and (b) to each Lender in an amount not less than the
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sum C?fthe amounts set forth opposite such j.ender's name on Schedule II hereto under the


headings entitled "Principal Amount", plus in each case (i) interest thereon (in amounts

determined at the rates set forth in the Credit Agreement) accrued and unpaid as of                      the Petition

Date and accrued and accruing subsequent to the Petition Date and (ii) facility and other fees (in

amounts determined at the rates set forth in the Credit Agreement) accrued and unpaid as of                       the

Petition Date and accrued and accring subsequent to the Petition Date. Estimated pre-petition

interest and facilty fees are shown as amounts not less than those set forth under columns

bearng those titles on Schedule II hereto.

                     6. In addition to the amounts claimed above, the Debtors are also liable to the

Claimants for such fees, indemnties, and costs and expenses as have accrued or have been

incurred before or after the Petition Date and thereafter accrue or are incurred to the extent set

forth in the Credit Agreement. In this regard, the Debtors are obligated pursuant to the Credit

Agreement to reimburse each Claimant for all of                       its costs and expenses, including attorneys' fees

and disbursements, incurred in connection with, among other things, any Debtor's defaults under

the Credit Agreement. This Master Proof of Claim is without prejudice to the right of the

Claimants to claim such fees and other expenses as administrative expenses of these cases

pursuant to Section 503(b) of             Title 11 of     the United States Code (the "Bankrptcy Code").

                     7. Annexed hereto as Exhibit A is an index of the principal documents upon

which this Master Proof of Claim is based. Because of their voluminous nature, the Agent has

not annexed hereto as separate exhibits copies of such documents. Rather, the Agent wil

provide copies upon the reasonable written request delivered to counsel for the Agent made by

any pary in interest in these cases.
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                                                                                                                  5


                     8. The çlaims set forth in this Master Proof of Claim are not subject to any valid

set.off or counterclaim, except to the extent of any rights of set-off in favor of any Claimant

which existed as at the petition date.

                     9. No judgment has been rendered on the claims set forth in this Master Proof of

Claim.

                     10. The amount of all payments on the claims set forth in this Master Proof of

Claim has been credited and deducted for the purpose of making this Master Proof of Claim.

                     11. The Agent reserves the right to amend and! or supplement ths Master Proof

of Claim and each of the Schedules and Exhibits hereto at any time and in any maner, including

without limitation, to reflect a change in the holders or the allocation of the claims of the

Claimants set forth on Schedule II hereto resulting from any transfer of such claims. Each

Claimant reserves the right to file additional proofs of claim for additional claims which may be

based on the same or additional documents. Each Claimant further reseres the right to fie

proofs of claim for administrtive expenses or other claims entitled to priority.

                     12. The Agent also files this Master Proof of Claim on behalf of any creditor or

class of creditors whose claims are subordinate to the claims of the Claimants (collectively, the

"Subordinated Claims") and the Agent, on behalf of                   the Claimants, hereby assers additional

claims against the Debtors in the amount of any such Subordinated Claims. The Claimants

hereby assert their right to enforce, and claim all benefits accorded by, any and all subordination

provisions which exist in respect of                 the Subordinated Claims. The Agent also reserves the right

to amend or supplement this Master Proof of Claim as may be necessary or appropriate to

preserve the benefits of such Subordinated Claims or to further protect the rights and remedies of

the Claimants with respect to any such Subordinated Claims.
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                                                                                                       6


                     13. This Master Proof of Claim is filed to protect the Claimants from potential

forfeiture oftheir claims. The filing ofthis Master Proof of Claim shall not constitute: (a) a

consent by the Claimants to the jurisdiction of this Court with respect to the subject matter of the

claims set forth in this Master Proof of Claim, any objection or other proceeding commenced

with respect thereto or any other proceeding commenced in these cases against or otherwise

involving any Claimant, (b) a waiver of       the right of   the Claimants to trial by jury in any

proceedings so trable in these cases or any controversy or proceedings related to these cases or

(c) an election of       remedies.
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                                                                                   7


     14. All n,ftices concerning this Master Proof of Claim shall be sent to:

                           JPMORGAN CHASE BANK,
                           as Administrative Agent
                           270 Park Avenue
                           New   York,   New   York 10017
                           Attn: Thomas F. Maher

                           with a copy to:

                           SIMPSON THACHER & BARTLETT
                           Attorneys for JPMorgan Chase Bank
                           425 Lexington Avenue
                           New York, New York 10017
                           Attn: Peter Pantaleo, Esq.
                                  Richard W. Douglas, Esq.
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                                                                                 SCHEDULE I

                                         Guarantors
W.R. Grace & Co.
W.R. Grace & Co.-CONN.

                                     Additional Borrowers

A-I Bit & Tool Co., Inc.
Alewife Boston Ltd.
Alewife Land Corporation
Amicon, Inc.
CB Biomedical, Inc. (f/ka Circe Biomedical, Inc.)
CCHP, Inc.
Coal grace, Inc.
Coalgrace II, Inc.
Creative Food 'N Fun Company
Darex Puerto Rico, Inc.
Del Taco Restaurants, Inc.
Dewey   and Almy, LLC (fla Dewey and Almy Company)
Ecarg, Inc.
Five Alewife Boston Ltd.,
GC Limited Partners I, Inc. (fla Grace Cocoa Limited Parers I, Inc.)
GC Management, Inc. (fla Grace Cocoa Management, Inc.)
GEC Management Corporation
GN Holdings, Inc.
GPC Thomasvile Corp.
Gloucester New Communities Company, Inc.
Grace A-B Inc.
Grace A-B II Inc.
Grace Chemical Company of Cuba
Grace Culinary Systems, Inc.
Grace Drillng Company
Grace Energy Corporation
Grace Environmental, Inc.
Grace Europe, Inc.
Grace H-G Inc.
Grace H-G II Inc.
Grace Hotel Servces Corpration
Grace International Holdings, Inc. (fla Dearborn International Holdings, Inc.)
Grace Offshore Company
Grace PAR Corporation
Grace Petroleum Libya Incorporated
Grace Taron Investors, Inc.
Grace Ventures Corp.
Grace Washington, Inc.
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                                                                                      2


W.R. Grace Capital Corporati.on
W.R. Grce Land Corporation
Gracoal, Inc.
Gracoal II, Inc.
Guaica-Carbe Land Development Corporation
Hanover Square Corporation
Homco Interational, Inc.
Kootenai Development Company
LB Realty, Inc.
Litigation Management, Inc. (f/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos
   Management, Inc.)
Monolith Enterprises, Incorporated
Monroe Street, Inc.
MRA Holdings Corp. (f/a Nestor-BNA Holdings Corporation)
MRA Intermedco, Inc. (f/ka Nestor-BNA, Inc.)
MRA Staffing Systems, Inc. (f/a British Nursing Association, Inc.)
Remedium Group, Inc. (f/ka Environmental Liabilty Management, Inc., E&C Liquidating
   Corp., Emerson & Cuming, Inc.)
Souther Oil, Resin & Fiberglass, Inc.
Water Street Corporation
Axial Basin Ranch Company
CC Partners (f/ka Cross Countr Staffing)
Hayden-Gulch West Coal Company
H-G Coal Company
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                                                                                               SCHEDULE II

                                                 CLAIMNTS
                            364 Day Revolving Credit Agreement dated as of May 5, 1999,
                                          Boldin s as of March 11, 2003
                                                              Estimated        Estimated
                                             Principal       Pre-petition     Pre-petition       Pre-Petition
Claimant                                     Amount $         Interest ($)     Facil Fees $         Total
Ban Happoalim, B.M.                          15,000,000.00        93,986.46         1,561.62     15,095,548.08
Bank of Nova Scotia                          24,000,000.00       150,378.33         2,498.59     24,152,876.93
Bear Stearns & Co. Inc.                      39,300,624.98       246,248.44         4,091.51     39,550,964.93
Credit Suisse First Boston                    5,000,000.00        31,328.82           520.54      5,031,849.36
D.K. Acquisition Parers, L.P.                30,070,207.85       188,412.82         3,130.55     30,261,751.22
Deutsche Ban Trust Company Americas          24,500,000.02       153,51 1.22        2,550.65     24,656,061.88
Dresder Ban AG                               24,000,000.00       150,378.33         2,498.59     24,152,876.93
JPMorgan Chase                               28,000,000.00       175,441.39         2,915.02     28,178,356.41
King Street Capital, L.P.                    44,276,225.97       277,424.38         4,609.51     44,558,259.86 .
Nortern Trut Com any                         15,852,941.18        99,330.79         1,650.42     15,953,922.38
Total                                       250,000,000.00     1,566,440.97        26,027.00    251,592,467.97
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                                                  EXHIBIT A

                                               Principal Documents

CREDIT AGREEMENT

1. The 364-Day Credit Agreement dated as of        May 5, 1999, among W.R. Grace, W.R.
          Grace & Co.-CONN., the Lenders party thereto, Ban of America National Trust and
          Savings Association, as Documentation Agent, the Agent and Chase Securities, Inc., as
          Book Manager.

OTHER

2. "Claims Bar Date Notice Order" entered by the Bankptcy Cour on April 25, 2002.

3. "Order as to all Non-Asbestos Claims, Asbestos Property Damage Claims, and Medical
          Monitoring Claims: (1) Establishing Bar Dates, (II) Approving Proof of Claim Forms, and
          (II) Approving Notice Program" entered by the Banptcy Cour on April 25, 2002.
